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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION

WILLIAM EDWARD TAYLOR,      )
                            )
    Plaintiff,              )                       Civil Action No. 7:21cv00482
                            )
v.                          )                       MEMORANDUM OPINION
                            )
MIDDLE RIVER REGIONAL JAIL, )                       By: Hon. Thomas T. Cullen
                            )                           United States District Judge
    Defendant.              )


       Plaintiff William Edward Taylor, an inmate proceeding pro se, filed this civil action

under 42 U.S.C. § 1983. By Order entered September 16, 2021, the court conditionally filed

this action and directed Taylor to provide the court with certain financial documentation. (See

ECF No. 3.) The court warned Taylor that failure to comply with the court’s order within 20

days would result in dismissal this action without prejudice. (Id.) More than 20 days have

elapsed since the court directed Taylor to comply, but Taylor has not submitted the required

financial documentation. Accordingly, the court will dismiss this action without prejudice for

failure to comply with the court’s Order. The court notes that this dismissal is without

prejudice to Taylor’s opportunity to refile his claims in a separate civil action, subject to the

applicable statute of limitations.

       ENTERED this 19th day of October, 2021.


                                                    /s/ Thomas T. Cullen_________________
                                                    HON. THOMAS T. CULLEN
                                                    UNITED STATES DISTRICT JUDGE
